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                        IN THE UMTED STATES DISTRICT COURT FOR(THB                     MAY 1 7 2023
                                  EASTERN DISTRICT OF VIRGINIA               /
                                          NORFOLKDIVISION                  ' y*                       court
   UNITED STATES OF AMERICA


                                                        Criminal No. 2:22-CR-152

   BRYANT MARCUS WILKERSON,
   a/k/a"Kobe,"

           Defendant.



                                        STATEMENT OF FACTS


           The United States and the defendant,BRYANT MARCUS WILKERSON,a/k/a "Kobe,"

   agree that at trial, the United States would have proven the following facts beyond a reasonable

   doubt with admissible and credible evidence:

           1.      On November 3, 2020, at approximately 7:36pm in Chesapeake, Virginia, in the

   Eastem District of Virginia, the defendant approached A.B. who was sitting inside his red 2015

   Kia Optima, which had been transported, shipped, and received in interstate and foreign

   commerce, after leaving work. Before A.B. could close the driver side door of the vehicle, the

   defendant stood in between the door and the driver seat and told A.B.,"You're going to get out

   ofthe fucking car or I am going to shoot you." A.B. initially stayed in the vehicle. The defendant

   produced a firearm and pointed it at A.B.'s face. The defendant then struck A.B. in the face with

   the firearm. A.B. exited his vehicle, and the defendant got in the driver's seat and drove away.
          2.      On November 4, 2020, the Kia Optima was found unoccupied in Virginia Beach.

   The Virginia Beach Police Department processed the Kia Optima for fingerprints and found one

   latent print matching the defendant's fingerprint on the exterior ofthe rear driver side door. A.B.

   later identified the defendant in a photo lineup.
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           3.     On November 9, 2020, deputies from the Currituck County Police Department

   attempted to stop the defendant driving a Ford Explorer Sport Trac stolen from Chesapeake,

   Virginia. The defendant fled from police and ran on foot into a wooded area along Caratoke

   Highway in North Carolina.

          4.      After some time, the defendant ran from the wooded area back onto the roadway.

   As he ran, he pointed a firearm at vehicles traveling south on Caratoke Highway. The defendant

   eventually approached a white 2009 Chevrolet Silverado with an attached trailer, which had been

   transported, shipped, and received in interstate and foreign commerce, being driven by P.D. The

   defendantjumped on the hood ofthe vehicle, pointed a firearm at P.D., and told him to get out of

   the truck. The defendant then fired a round into the dash of the truck. The defendantjumped off

   the hood and ran to the driver side door. The defendant opened the door and pointed the firearm

   at P.D. again. P.D. got out ofthe truck, and the defendant got in and drove away.

          5.      Law enforcement officers continued to chase the defendant in the Chevrolet

   Silverado. The pursuit continued back into Chesapeake, Virginia where the defendant was

   eventually arrested. The defendant abandoned the Chevrolet Silverado and attempted to hide in a

   vehicle parked in a personal garage. Officers found the defendant and removed him from the

   back seat of the vehicle. A Clock 19 9mm handgun was located in the back seat of a vehicle

   from which the defendant was removed.

          6.     The defendant agrees that he brandished a firearm during and in relation to a

   crime of violence as set forth in Count 5 of the Superseding Indictment and described above in

   the Statement of Facts.
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           7.      The defendant further agrees that he discharged a firearm during and in relation to

   a crime of violence as set forth in Count 7 ofthe Superseding Indictment and described above in

   the Statement ofFacts.

           8.     The actions taken by the defendant in furtherance of the offenses charges in this

   case, carjacking, brandishing a firearm during a crime of violence, and discharging a firearm

   during a crime of violence, including the acts above, were done knowingly with the specific

   intent to violate the law.

          9.      This statement of facts includes those facts necessary to support the plea

   agreement between the defendant and the United States. It does not include each and every fact

   known to the defendant or to the United States, and it is not intended to be a full enumeration of

   all ofthe facts surrounding the defendant's case.


                                                 Respectfully submitted,

                                                 Jessica D.Aber
                                                 United States Attorney


                                           By:
                                                 Amanda L. Chen^.
                                                 AssistantJIni^^tStes Attorney
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          After consulting with my attorney and pursuant to the plea agreement entered into this

   day between the defendant, BRYANT MARCUS WILKERSON,and the United States, I hereby

   stipulate that the above Statement of Facts is true and accurate, and that had the matter proceeded

   to trial, the United States would have proved the same beyond a reasonable doubt.



                                                BRYANT MARCUS WILKERSON



          We are attomeys for the defendant, BRYANT MARCUS WILKERSON. We have

   carefully reviewed the above Statement of Facts with him. To our knowledge, his decision to

   stipulate to these facts is an informed and voluntary one.



                                                WiTffedo^onilla, Jr., Esq.
                                                Keith Kimball, Esq.
                                                Attomeys for BRYANT MARCUS WILKERSON
